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               EXHIBIT G
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                      UNITED STATES DISTRICT COURT
                FOR THE EASTERN DIRSTRICT OF PENNSYLVANIA

                                           :
LISA BARBOUNIS                             :       CIVIL ACTION
                     Plaintiff,            :       NO. 2:19-cv-05030-JDW
-vs-                                       :
                                           :
THE MIDDLE EAST FORUM, et al.              :
                                           :
                     Defendants.           :


                  PLAINTIFF LISA BARBOUNIS’S RESPONSES
             TO DEFENDANTS’ FOURTH REQUESTS FOR ADMISSIONS


   1. Identify each person who has knowledge or information concerning the allegations made
      in the Amended Complaint or any defenses asserted to those allegations.


ANSWER:



The following list of individuals have knowledge or information concerning the allegations made
in Plaintiff’s Amended Complaint and in Plaintiff’s civil action Complaint that was recently
consolidated pursuant to Judge Wolson’s Order with Plaintiff’s First Amended Complaint.

   1. Lisa Barbounis
   2. Patricia McNulty
   3. Caitriona Brady
   4. Delaney Yonchek
   5. Marnie Meyer
   6. EJ Kimbill
   7. Cliff Smith
   8. Greyson Levey
   9. Tiffany Lee
   10. Thelma Prosser
   11. Vasilli Barbounis
   12. Greg Roman
   13. Daniel Pipes
   14. Matthew Bennett
   15. Mark Fink
   16. Steve Levey
   17. Laurence Hollin
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   18. Joshua Katzen
   19. Laura Frank
   20. Lara (last name unknown)
   21. Aman Patel (Raquel Saraswati)
   22. Samantha Mandalas
   23. Leah Merville
   24. Rosie (last name unknown)
   25. Alana Goodman
   26. Jeffrey H. Finkelstein
   27. Tracy Grandelis
   28. Milo Averbach
   29. Jenny Kaplan
   30. Linda Gordon
   31. Leora Levey
   32. Judy Goodrob
   33. Lawrence Gould
   34. Richard Irving
   35. Andrew Lappin
   36. Harley Lippman
   37. Daniel Pipes
   38. Judy Friedman Rosen
   39. Scott Rosenblum
   40. James H.M. Sprayregen
   41. David P. Steinmann
   42. Stacy Roman
   43. Susan (last name unknown)




   2. If you contend that either Defendant made any admission concerning the subject matter
      of this lawsuit, identify the individual/entity; identify the date, time, and place the
      admission was made; identify all persons present when the admission was made; and
      state the substance of the admission.


ANSWER:


Greg Roman stated that Tiffany Lee served to be a victim of sexual harassment because Tiffany
Lee had “big tits” and wore low cut, slutty shirts and stomped around in high heels, bending over
desks. Greg Roman referred to Tiffany Lee as “big tits.” Greg Roman constantly tried to
compel Tiffany Lee to visit his home late at night while Greg Roman’s wife and kid were in
Israel so that Greg Roman could “fuck” Tiffany Lee. Matthew Bennet was worried because
Lisa Barbounis wore a V-neck top to Lisa Barbounis’s job interview and Matthew Bennet was
worried that Greg Roman would do or say something inappropriate during the interview.
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Matthew Bennett explained that Greg Roman hired Patricia McNulty and Lisa Barbounis
because they “were hot.” Greg Roman has a well-established history of using his position as
Director of The Middle East Forum to hire attractive women and proposition those women for
sexual intercourse and oral sex. Greg Roman made inappropriate comments about sexual
harassment during Lisa Barbounis’s job interview. The sexual harassment continued throughout
Plaintiff’s employment. Throughout Lisa Barbounis’s employment, Greg Roman constantly
referred to Lisa Barbounis as his “work wife.” Greg Roman began referring to Lisa Barbounis as
his work wife by telling Lisa Barbounis that Greg Roman “needed a work wife” and that Lisa
Barbounis “needed to be a work wife.” Greg Roman blamed Tiffany Lee for his sexual
harassment of Tiffany Lee because Tiffany Lee wore sexy clothes that showed off her “big tits.”
Greg Roman forced Lisa Barbounis to look at Greg Roman’s Facebook account and forced Lisa
Barbounis to sit inappropriately close to him behind his desk and view inappropriate, personal
pictures. The entire time Greg Roman made inappropriate sex-based comments to Lisa
Barbounis about the photos. For example, Greg Roman showed Lisa Barbounis pictures of
women that Greg Roman claimed to have “fucked” and explained to Lisa Barbounis that he
wished he could still “fuck all those girls.” Greg Roman constantly complained to Lisa
Barbounis that his wife was not “hot enough” and that he only married his wife because “she was
Israeli.” Greg Roman made comments that he should be entitled to continue “fucking hot
chicks.” Greg Roman made these comments while he forced Lisa Barbounis to sit
inappropriately close to him behind his desk. This occurred continuously throughout Lisa
Barbounis’s employment and Lisa Barbounis was made to listen to Greg Roman complaining
about needing sex throughout her employment. While on a trip to Israel, Greg Roman admitted
to Lisa Barbounis that he used paperwork that a young intern named Leah Merville required to
complete her internship to lure Leah Merville to Greg Roman’s hotel room. Greg Roman
admitted that he lured Leah Merville to his hotel room using the paperwork to compel Leah
Merville to have sex with Greg Roman. Greg Roman said that he got Leah Merville to his hotel
room to “fuck her.” Greg Roman forced Lisa Barbounis to listen to the details of Greg Roman’s
inappropriate quid pro quo sexual encounter with Leah Merville. Greg Roman described the
sexual encounter vividly stating that Leah Merville has a dancer’s body, and that she is “so hot”
and that she was on top of him with her hot dancer’s body and that she gave a good blow job.
Greg Roman than explained that he attempted to compel Leah Merville to have sex with him
again that very evening and that Leah Merville rejected his sexual advances. Importantly, Greg
Roman did not have paperwork that Leah Merville needed him to sign the night that Leah
Merville rejected Greg Roman’s sexual advances. The only reason Leah Merville had sex with
Greg Roman was because Greg Roman forced Leah Merville to by using paperwork Leah
Merville needed signed. Greg Roman was visibly angry that Leah Merville rejected his sexual
advances and complained to Lisa Barbounis about it at length. That same night, also while in
Israel, Greg Roman explained to Lisa Barbounis that he attempted to sexually proposition or
“fuck” his ex-girlfriend. Greg Roman showed Lisa Barbounis photos of his ex-girlfriend
commenting to Lisa Barbounis about how “hot” his ex-girlfriend is. Throughout Lisa Barbounis
employment for Greg Roman, this was an ongoing theme where Greg Roman showed Lisa
Barbounis photos and the women that Greg Roman claimed to have “fucked,” describing to Lisa
Barbounis the sexual encounter and asking Lisa Barbounis if she thought the women were “hot.”
Greg Roman informed Lisa Barbounis that he was angry that his ex-girlfriend also rejected his
sexual advances that evening in Israel. The same evening, Greg Roman tried to compel Lisa
Barbounis to perform oral sex for Greg Roman. Greg Roman said to Lisa Barbounis “I just need
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one good blowjob.” Greg Roman said, “I just need a release. Don’t I deserve a release?” Greg
Roman continued to compel Lisa Barbounis to perform oral sex for him using the fact that Leah
Merville and Greg Roman’s ex-girlfriend rejected him as the reason he needed “a release.” Lisa
Barbounis held text conversations with Patricia McNulty about Greg Roman’s inappropriate
conduct which confirm that Lisa Barbounis was intimidated, creeped out, and scared by Greg
Roman’s inappropriate sexual harassment and sexual propositions. Lisa Barbounis informed
Patricia McNulty that she was scared. Lisa Barbounis also used Facetime to communicate with
her husband, Vasilli Barbounis about Greg Roman’s inappropriate sexual advances. The day
before Greg Roman tried to compel Lisa Barbounis to perform oral sex for Greg Roman, Greg
Roman sexually assaulted Lisa Barbounis by sticking his foot up her ass and saying, “we have
reached a new level in our relationship now.” Greg Roman began the sexual harassment of Lisa
Barbounis at the very beginning of Lisa Barbounis career with The Middle East Forum and
continued his inappropriate sexual harassment continuously until November 2018, when Greg
Roman was instructed to discontinue visiting The Middle East Forum Philadelphia offices due to
the number of female employees who reported being victims of Greg Roman’s discrimination
and harassment in the workplace. Greg Roman was instructed by Daniel Pipes to discontinue
visiting the Philadelphia offices because Greg Roman posed a risk for the safety of the female
staff. Daniel Pipes and Greg Roman admitted to this. Greg Roman constantly contacted Lisa
Barbounis at inappropriate times and instructed Lisa Barbounis to visit him home “to work on
something.” Greg Roman instructed Lisa Barbounis to visit his home countless times throughout
Greg Roman’s employment. Sometimes Greg Roman called Lisa Barbounis as late as 11:00
P.M., to invite Lisa Barbounis to Greg Roman’s home, “to get some work done.” Greg Roman
always made it clear that his wife was not home, or that his wife and child were not home. The
implication was clear that Greg Roman was attempting to compel Lisa Barbounis to his home so
that he could continue the sexual advances and sexual harassment to which Lisa Barbounis was
subjected on a continuous basis at work. Greg Roman was constantly and continuously
inappropriate with Lisa Barbounis. Greg Roman spoke to Lisa Barbounis about sex and sexual
conquests. Greg Roman constantly leered at Lisa Barbounis, staring at Lisa Barbounis’s
backside and chest. Greg Roman admitted to Lisa Barbounis that he needed girls to “fuck” and
constantly spoke to Lisa Barbounis in a suggestive manner trying to convince Lisa Barbounis to
engage in a sexual relationship with him. By way of further answer see Plaintiff’s First
Amended Complaint and the second civil action complaint filed against The Middle East Forum
which has been consolidated with the instant matter.


   3. If you have ever made, discussed, filed or threatened to make or file any claims and/or
      lawsuits (other than this lawsuit) for retaliation, employment discrimination, sexual
      harassment, mental anguish, personal injuries, workers' compensation claims, bodily
      injuries, wrongful discharge, then with respect to each claim or lawsuit please identify
      each person, corporation or other entity against whom a claim and/or lawsuit was made,
      discussed, threatened or filed, and if filed, please identify the jurisdiction where the
      lawsuit was filed and the docket number.



ANSWER
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Plaintiff objects to this interrogatory as not relevant to the issues presented in this matter, as
overly broad and unduly burdensome and not calculated to lead to the discovery of admissible
evidence. By way of further answer, Plaintiff has never presented any other claims for
retaliation, employment discrimination, sexual harassment, mental anguish, personal injuries,
workers' compensation claims, bodily injuries, wrongful discharge.




       4. For each hospital, clinic, mental or psychiatric treatment center, substance abuse
treatment center, medical facility, doctor, counselor, therapist, chiropractor, or any medical
professional who has examined and/or treated you for any reason in the last ten (10) years:

a. Identify the person(s) who treated you; and

b. Explain the type of examination and treatment.

ANSWER:

Plaintiff, Lisa Barbounis objects to this interrogatory as not relevant to the issues presented in
this matter, as overly broad and unduly burdensome and not calculated to lead to the discovery of
admissible evidence. Defendants do not require a complete medical history of Lisa Barbounis
for a ten (10) year period. Plaintiff, Lisa Barbounis is not presenting a claim for personal injury.
The allegations in Plaintiff’s complaint are limited to emotional distress and physical
manifestations including heart condition. All providers that have rendered treatment in
connection with Plaintiff’s claim in the past ten years are listed below.

   •   Joanne Kim, M.Ed., LPC
       M&K Counseling Associates Inc.
       4414 5th Street Northwest
       Washington, District of Columbia 20011
       Phone: (202) 670-3017

Plaintiff, Lisa Barbounis has treated with licensed professional counselor, Joanne Kim since
March 2020. Plaintiff began seeing Joanne Kim because of trauma related to her employment
with The Middle East Forum.

   •   The Medical Office of Maximilian Oshalim, MD
       2075 L Street NW
       Washington, DC 20037
       Phone: (202) 545-7679

When Plaintiff, Lisa Barbounis moved to Washington D.C., after her unlawful termination from
The Middle East Forum, she began treatment at The Medical Office of Maximilian Oshalim. Dr.
Oshalim continued Plaintiff, Lisa Barbounis with medications including Adderall and Zoloff.
Dr. Oshalim recommended that Lisa Barbounis begin with a licensed professional counselor.
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Following, Dr. Oshalim’s recommendations, Lisa Barbounis began treatment at Mindoula
Health.


   •   Alexander S. Zwil, MD
       3400 Spruce Street
       Philadelphia, PA 19104
       Phone: (215) 573-3308

Dr. Zwil is a medical doctor with Penn Behavior Health who Plaintiff treated with since
sometime around 2016. Plaintiff treated with Dr. Zwil due to attention deficit disorder. Plaintiff,
Lisa Barbounis visited with Dr. Zwil sometime around October 2018 and reported experiencing
severe emotional distress connected with her employment with The Middle East Forum and Greg
Roman. At that time, Dr. Zwil prescribed Plaintiff, Lisa Barbounis Zoloff which is medication
for anxiety and depression.


   •   Mindoula Health
       1119 E W Highway
       Silver Spring, MD 20910
       Phone: (888) 879-9786
       Stephanie DeBernardo licensed professional counselor

At the direction of Dr. Oshalim, Lisa Barbounis began treatment at Mindoula Health with
licensed professional counsel, Stephanie DeBernardo. During her treatment at Mindoula Health,
Stephanie DeBernardo recommended that Lisa Barbounis see a trauma therapist. Accordingly,
Lisa Barbounis began treatment with Joanne Kim, M.Ed., LPC.


   •   Lankenau Heart Group - Lankenau Medical Center
       100 E Lancaster Avenue
       Wynnewood, PA 19096
       Phone: (484) 476-1000

Plaintiff, Lisa Barbounis treated at Lankenau Heart Group - Lankenau Medical Center for a heart
condition that is related to the severe and pervasive discrimination and harassment to which Lisa
Barbounis was subjected during her employment with Defendants. Plaintiff began to experience
premature ventricular and atrial contractions which is a heart condition related to the emotional
distress Plaintiff was subjected to.

        5.       If you have sought treatment for mental anguish, emotional distress, mental trauma,
depression or any illness or condition as the result of any alleged acts of Defendants about which you
are now complaining and/or seeking recovery in this lawsuit, identify every doctor, hospital, clinic,
mental or psychiatric treatment center, substance abuse treatment center, medical facility,
psychiatrist, psychologist, counselor, or medical professional who has provided such treatment and
identify the date(s) on which such treatment was provided.
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ANSWER:


   •   Joanne Kim, M.Ed., LPC
       M&K Counseling Associates Inc.
       4414 5th Street Northwest
       Washington, District of Columbia 20011
       Phone: (202) 670-3017

Plaintiff, Lisa Barbounis has treated with licensed professional counselor, Joanne Kim since
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Roman. At that time, Dr. Zwil prescribed Plaintiff, Lisa Barbounis Zoloff which is medication
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licensed professional counsel, Stephanie DeBernardo. During her treatment at Mindoula Health,
Stephanie DeBernardo recommended that Lisa Barbounis see a trauma therapist. Accordingly,
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Plaintiff, Lisa Barbounis treated at Lankenau Heart Group - Lankenau Medical Center for a heart
condition that is related to the severe and pervasive discrimination and harassment to which Lisa
Barbounis was subjected during her employment with Defendants. Plaintiff began to experience
premature ventricular and atrial contractions which is a heart condition related to the emotional
distress Plaintiff was subjected to.




         6.     If you contend that either Roman or The Forum made any statement against his/its
interest concerning the subject matter of this lawsuit, identify the individual/entity; identify the date,
time, and place such statement against interest was made; identify all persons present when such
statement against interest was made; and state the substance of the statement against interest.


ANSWER:


See Plaintiff’s response to Interrogatory Number 2, above. And as discovery and Plaintiff’s
investigation into Defendants’ conduct is ongoing. Accordingly, Plaintiff reserves the right to
supplement this response in accordance with the Federal Rules of Civil Procedure, the Local Rules of
Discovery and the Scheduling Order. By way of further answer, Defendants made statements against
their interest concerning the subject matter of this lawsuit. Many of the statements against interest
are already in the possession of Defendants and can be found in documents produced by Defendants
and Bates Stamped D000001 through D002102. This information is equally accessible to
Defendants as Plaintiff. Plaintiff is under no obligation to review documents produced by
Defendants and identify all statements against interest. Notwithstanding, Greg Roman threatened
Plaintiff, Lisa Barbounis safety after Lisa Barbounis rejected Greg Roman’s unwanted sexual
advances. Greg Roman informed Lisa Barbounis, “if you cross me I will slit your throat.” Greg
Roman also referred to Lisa Barbounis, Patricia McNulty, Marnie Meyer, and other female staff as
the “usurpers” after they reported Greg Roman’s severe and pervasive discrimination and harassment
in the workplace. Daniel Pipes made comments about Greg Roman’s behavior not being serious
stating that priests who sexual molest boys are permitted to continue working in the church so Greg
Roman should be permitted to continue working with The Middle East Forum. Daniel Pipes and
Greg Roman have made statements against interest to The Middle East Forum Board, by telling the
Board that the woman who have accused Greg Roman of sexual harassment have invented the
allegations presented in their respective civil action complaints. Greg Roman and Daniel Pipes
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regularly provide false information to the Board stating that Lisa Barbounis, Patricia McNulty,
Caitriona Brady, and Marnie Meyer are part of a conspiracy to “get rich quick.” When members of
the Board attempt to discuss the allegations presented by Lisa Barbounis, Patricia McNulty, Marnie
Meyer, Caitriona Brady, and Delaney Yonchek, Greg Roman and Daniel Pipes present false
information to the Board and make statements against the interest of the Board and the interest of
The Middle East Forum. At every turn, Greg Roman and Daniel Pipes have defrauded The Middle
East Forum and the members of the Board by using donor money to illegally retaliate against female
employees who are victims of Greg Roman’s sexual harassment and discrimination and harassment
based on sex and gender. Daniel Pipes has allowed Greg Roman to take over all litigation decisions
and strategy, using donor contributions gifted to The Middle East Forum based on The Middle East
Forum’s promise that the cash gifts will be used to accomplish The Middle East Forum’s mission.
Instead of allocating the cash gifts made by donors to The Middle East Forum, Greg Roman and
Daniel Pipes have diverted donations from their intended use and reallocated those donations to a
litigation war chest intended to unlawfully retaliate against Lisa Barbounis, Patricia McNulty, and
Marnie Meyer. The Middle East Forum is currently paying Greg Roman’s legal bills using donor
gifts made to further The Middle East Forum’s mission. The use of donor gifts to assist an employee
in a personal vendetta in retaliating against his victims is against the interest of The Middle East
Forum and a conflict of interest. The Middle East Forum is defrauding the Board and donors by
failing to disclose the amount of money being diverted from The Middle East Forum’s mission to
Greg Roman’s personal legal fund. Greg Roman and Daniel Pipes have made statements against
interest in connection with the misappropriation of donor gifts/contributions by providing false
information to the Board attacking the victims of Greg Roman’s severe and pervasive discrimination
and harassment in the workplace. The only person this serves is Greg Roman. The only agenda this
serves is Greg Roman’s. Daniel Pipes has failed in his fiduciary duty to the Board by serving the
interests of Greg Roman and disregarding the interests of The Middle East Forum. Every statement
Daniel Pipes makes in this regard is against his own interest and against the interest of The Middle
East Forum. Daniel Pipes and Greg Roman have committed criminal acts by defrauding donors and
embezzling money from The Middle East Forum for Greg Roman’s personal legal fund. Daniel
Pipes vowed to terminate Greg Roman if there was a single credible allegation of sexual misconduct,
sexual harassment or discrimination and harassment based on sex and gender after November 2018.
Daniel Pipes has since learned of several additional incidents but refuses to act in accordance with
his own policies and promises. Statements against interest include accusations that Greg Roman’s
victims are engaged in a civil conspiracy. Statements against interest include that Greg Roman
victims are engaged in a get rich quick scheme. Statements against interest include the denial of
Greg Roman’s severe and pervasive discrimination and harassment in the workplace. Statements
against interest include that Greg Roman did not violate Title VII and the Pennsylvania Human
Relations Act and the Philadelphia Fair Practices Ordinance. Daniel Pipes and Greg Roman have
also made statements against interest concerning the investigation into Greg Roman’s discrimination
and harassment in the workplace. Again these statements against interest can be found in documents
produced by Defendants and Bates Stamped D000001 through D002102.
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        7.      Identify every individual who you have ever complained to at The Forum concerning
any alleged improper and/or unethical behavior, involving The Forum and/or Roman. For every
person identified, please provide the date of the alleged complaint; a full description of the specific
complaint; all witnesses to the alleged complaint; and all documents relating to the alleged
complaint.


ANSWER:

Plaintiff, Lisa Barbounis complained throughout her employment about Greg Roman’s inappropriate
discrimination and harassment in the workplace. Lisa Barbounis complained to Matthew Bennett
and Patricia McNulty more than anyone else. Lisa Barbounis also complained to Marnie Meyer,
Daniel Pipes, and Greg Roman. Lisa Barbounis also complained to Caitriona Brady, Delaney
Yonchek and Thelma Prosser. Lisa Barbounis also complained to Greyson Levey, EJ Kimball, and
Cliff Smith. Plaintiff complained about Greg Roman’s inappropriate sex and gender discrimination
and sexual harassment on a continuous basis throughout her employment with The Middle East
Forum. Matthew Bennet and Lisa Barbounis began to discuss Greg Roman’s inappropriate sexual
harassment of Lisa Barbounis and other female staff early on in Lisa Barbounis’s career with The
Middle East Forum. For example, Matthew Bennett informed Lisa Barbounis that he was concerned
that Greg Roman would make inappropriate comments toward Lisa Barbounis at Lisa Barbounis’s
job interview because of the way that Lisa Barbounis was dressed. Matthew Bennet informed Lisa
Barbounis about inappropriate sex based comments that Greg Roman made about Lisa Barbounis
including a comment about Lisa Barbounis being good as oral sex. Accordingly, Lisa Barbounis
complained about Greg Roman to Matthew Bennet often throughout her employment with The
Middle East Forum. Lisa Barbounis also complained to Patricia McNulty about Greg Roman’s
inappropriate sexual conduct and comments. Patricia McNulty confirmed that Greg Roman
exhibited similar inappropriate sexual harassment toward Patricia McNulty. Lisa Barbounis did not
know what else to do about Greg Roman’s severe and pervasive sexual harassment. Greg Roman
was The Middle East Forum. Greg Roman was a corporate officer and the Director of The Middle
East Forum. It was clear from both Greg Roman’s and Daniel Pipes’ conduct and comments that
Daniel Pipes was married to Greg Roman and there was nothing Greg Roman could do to cause
Daniel Pipes to divorce himself and The Middle East Forum from Greg Roman. Accordingly, the
female victims of Greg Roman’s severe and pervasive discrimination and harassment in the
workplace including continuous sexual harassment had no one they could report to. Greg Roman
enforced policies whereby female employees were not permitted to report to Daniel Pipes. Greg
Roman enforced policies that required all issues to flow through him office. Greg Roman enforced
these policies by monitoring email accounts. Greg Roman enforced these policies by monitoring the
behavior of the female employees of The Middle East Forum. Greg Roman was loud,
condescending, abusive and belligerent to female employees who “stepped out of line.” Greg Roman
used control to scare, intimidate, and subjugate the female employees of The Middle East Forum.
Lisa Barbounis attempted to report to Marnie Meyer on several occasions, however, Greg Roman
constantly employees intimidation tactics to drive a wedge between the female employees. Greg
Roman did this by instigating, encouraging, and inciting infighting among the female staff. Greg
Roman specifically targeted Marnie Meyer in his strategy to drive a wedge between Lisa Barbounis
and Marnie Meyer. It was not until the end of October/beginning of November 2018 that the female
staff banned together in a coordinated effort to report Greg Roman’s discrimination and harassment
in the workplace. Marnie Meyer prepared a handwritten letter which was sent to Daniel Pipes.
Marnie Meyer prepared the letter by hand because she was apprehensive and fearful that any
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communications by electronic means would be intercepted by Greg Roman and the female staff
would be subjected to retaliation.

After her trip to Israel, Plaintiff, Lisa Barbounis reported Greg Roman’s conduct to Marnie Meyer,
Patricia McNulty, Matthew Bennett, Caitriona Brady, Delaney Yonchek, Vasilli Barbounis, Kathryn
Ercole, and Jane Reynolds. Plaintiff continuously vented to Vasilli Barbounis, Jane Reynolds, and
Kathryn Ercole in a cathartic effort to release the pent of anxiety, fear, and anger that accumulated
because of Greg Roman severe and pervasive sexual harassment.

Lisa Barbounis cannot recall each and every date and time when she spoke to the above listed
individuals about Greg Roman’s severe and pervasive sexual harassment. Lisa Barbounis constantly
and continuously reported Greg Roman’s severe and pervasive sexual harassment and inappropriate
conduct and comments from the end of 2017 the spring of 2019.




       8.     Identify all complaints you made regarding alleged harassment and/or discrimination
by The Forum, Roman, and/or anyone else affiliated with The Forum.


ANSWER:

Plaintiff, Lisa Barbounis complained throughout her employment about Greg Roman’s inappropriate
discrimination and harassment in the workplace. Lisa Barbounis complained to Matthew Bennett
and Patricia McNulty more than anyone else. Lisa Barbounis also complained to Marnie Meyer,
Daniel Pipes, and Greg Roman. Lisa Barbounis also complained to Caitriona Brady, Delaney
Yonchek and Thelma Prosser. Lisa Barbounis also complained to Greyson Levey, EJ Kimball, and
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Forum. Matthew Bennet and Lisa Barbounis began to discuss Greg Roman’s inappropriate sexual
harassment of Lisa Barbounis and other female staff early on in Lisa Barbounis’s career with The
Middle East Forum. For example, Matthew Bennett informed Lisa Barbounis that he was concerned
that Greg Roman would make inappropriate comments toward Lisa Barbounis at Lisa Barbounis’s
job interview because of the way that Lisa Barbounis was dressed. Matthew Bennet informed Lisa
Barbounis about inappropriate sex based comments that Greg Roman made about Lisa Barbounis
including a comment about Lisa Barbounis being good as oral sex. Accordingly, Lisa Barbounis
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in the workplace. Marnie Meyer prepared a handwritten letter which was sent to Daniel Pipes.
Marnie Meyer prepared the letter by hand because she was apprehensive and fearful that any
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would be subjected to retaliation.

After her trip to Israel, Plaintiff, Lisa Barbounis reported Greg Roman’s conduct to Marnie Meyer,
Patricia McNulty, Matthew Bennett, Caitriona Brady, Delaney Yonchek, Vasilli Barbounis, Kathryn
Ercole, and Jane Reynolds. Plaintiff continuously vented to Vasilli Barbounis, Jane Reynolds, and
Kathryn Ercole in a cathartic effort to release the pent of anxiety, fear, and anger that accumulated
because of Greg Roman severe and pervasive sexual harassment.

Lisa Barbounis cannot recall each and every date and time when she spoke to the above listed
individuals about Greg Roman’s severe and pervasive sexual harassment. Lisa Barbounis constantly
and continuously reported Greg Roman’s severe and pervasive sexual harassment and inappropriate
conduct and comments from the end of 2017 the spring of 2019.



        9.     Identify all complaints and/or communications that you had with MEF employees
and/or individuals outside of MEF regarding what you contend to be improper conduct by MEF,
Roman, and/or anyone else affiliated with MEF.


ANSWER:

Plaintiff, Lisa Barbounis reported the discrimination and harassment to family and friends in a
cathartic effort to share the severe emotional distress Lisa Barbounis experienced because of her
work at The Middle East Forum with Greg Roman. Lisa Barbounis spoke to her husband, Vasilli
Barbounis. Lisa Barbounis spoke with Kathryn Ercole who was an office manager and scheduler at
Lisa Barbounis’s previous employment. Lisa Barbounis shared her ongoing experience with Greg
Roman’s severe and pervasive discrimination and harassment in the workplace with Vasilli
Barbounis, Kathryn Ercole, Jane Reynolds, Patricia McNulty, Matthew Bennett, Greyson Levey,
Judy Goodrob.
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        10.     Identify all alleged incidents of harassment, discrimination, and/or improper behavior
occurring either inside or outside of The Forum workplace allegedly carried out by The Forum,
Roman, and/or anyone else affiliated with The Forum.


ANSWER:

Greg Roman stated that Tiffany Lee served to be a victim of sexual harassment because Tiffany
Lee had “big tits” and wore low cut, slutty shirts and stomped around in high heels, bending over
desks. Greg Roman referred to Tiffany Lee as “big tits.” Greg Roman constantly tried to
compel Tiffany Lee to visit his home late at night while Greg Roman’s wife and kid were in
Israel so that Greg Roman could “fuck” Tiffany Lee. Matthew Bennet was worried because
Lisa Barbounis wore a V-neck top to Lisa Barbounis’s job interview and Matthew Bennet was
worried that Greg Roman would do or say something inappropriate during the interview.
Matthew Bennett explained that Greg Roman hired Patricia McNulty and Lisa Barbounis
because they “were hot.” Greg Roman has a well-established history of using his position as
Director of The Middle East Forum to hire attractive women and proposition those women for
sexual intercourse and oral sex. Greg Roman made inappropriate comments about sexual
harassment during Lisa Barbounis’s job interview. The sexual harassment continued throughout
Plaintiff’s employment. Throughout Lisa Barbounis’s employment, Greg Roman constantly
referred to Lisa Barbounis as his “work wife.” Greg Roman began referring to Lisa Barbounis as
his work wife by telling Lisa Barbounis that Greg Roman “needed a work wife” and that Lisa
Barbounis “needed to be a work wife.” Greg Roman blamed Tiffany Lee for his sexual
harassment of Tiffany Lee because Tiffany Lee wore sexy clothes that showed off her “big tits.”
Greg Roman forced Lisa Barbounis to look at Greg Roman’s Facebook account and forced Lisa
Barbounis to sit inappropriately close to him behind his desk and view inappropriate, personal
pictures. The entire time Greg Roman made inappropriate sex-based comments to Lisa
Barbounis about the photos. For example, Greg Roman showed Lisa Barbounis pictures of
women that Greg Roman claimed to have “fucked” and explained to Lisa Barbounis that he
wished he could still “fuck all those girls.” Greg Roman constantly complained to Lisa
Barbounis that his wife was not “hot enough” and that he only married his wife because “she was
Israeli.” Greg Roman made comments that he should be entitled to continue “fucking hot
chicks.” Greg Roman made these comments while he forced Lisa Barbounis to sit
inappropriately close to him behind his desk. This occurred continuously throughout Lisa
Barbounis’s employment and Lisa Barbounis was made to listen to Greg Roman complaining
about needing sex throughout her employment. While on a trip to Israel, Greg Roman admitted
to Lisa Barbounis that he used paperwork that a young intern named Leah Merville required to
complete her internship to lure Leah Merville to Greg Roman’s hotel room. Greg Roman
admitted that he lured Leah Merville to his hotel room using the paperwork to compel Leah
Merville to have sex with Greg Roman. Greg Roman said that he got Leah Merville to his hotel
room to “fuck her.” Greg Roman forced Lisa Barbounis to listen to the details of Greg Roman’s
inappropriate quid pro quo sexual encounter with Leah Merville. Greg Roman described the
sexual encounter vividly stating that Leah Merville has a dancer’s body, and that she is “so hot”
and that she was on top of him with her hot dancer’s body and that she gave a good blow job.
Greg Roman than explained that he attempted to compel Leah Merville to have sex with him
again that very evening and that Leah Merville rejected his sexual advances. Importantly, Greg
Roman did not have paperwork that Leah Merville needed him to sign the night that Leah
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Merville rejected Greg Roman’s sexual advances. The only reason Leah Merville had sex with
Greg Roman was because Greg Roman forced Leah Merville to by using paperwork Leah
Merville needed signed. Greg Roman was visibly angry that Leah Merville rejected his sexual
advances and complained to Lisa Barbounis about it at length. That same night, also while in
Israel, Greg Roman explained to Lisa Barbounis that he attempted to sexually proposition or
“fuck” his ex-girlfriend. Greg Roman showed Lisa Barbounis photos of his ex-girlfriend
commenting to Lisa Barbounis about how “hot” his ex-girlfriend is. Throughout Lisa Barbounis
employment for Greg Roman, this was an ongoing theme where Greg Roman showed Lisa
Barbounis photos and the women that Greg Roman claimed to have “fucked,” describing to Lisa
Barbounis the sexual encounter and asking Lisa Barbounis if she thought the women were “hot.”
Greg Roman informed Lisa Barbounis that he was angry that his ex-girlfriend also rejected his
sexual advances that evening in Israel. The same evening, Greg Roman tried to compel Lisa
Barbounis to perform oral sex for Greg Roman. Greg Roman said to Lisa Barbounis “I just need
one good blowjob.” Greg Roman said, “I just need a release. Don’t I deserve a release?” Greg
Roman continued to compel Lisa Barbounis to perform oral sex for him using the fact that Leah
Merville and Greg Roman’s ex-girlfriend rejected him as the reason he needed “a release.” Lisa
Barbounis held text conversations with Patricia McNulty about Greg Roman’s inappropriate
conduct which confirm that Lisa Barbounis was intimidated, creeped out, and scared by Greg
Roman’s inappropriate sexual harassment and sexual propositions. Lisa Barbounis informed
Patricia McNulty that she was scared. Lisa Barbounis also used Facetime to communicate with
her husband, Vasilli Barbounis about Greg Roman’s inappropriate sexual advances. The day
before Greg Roman tried to compel Lisa Barbounis to perform oral sex for Greg Roman, Greg
Roman sexually assaulted Lisa Barbounis by sticking his foot up her ass and saying, “we have
reached a new level in our relationship now.” Greg Roman began the sexual harassment of Lisa
Barbounis at the very beginning of Lisa Barbounis career with The Middle East Forum and
continued his inappropriate sexual harassment continuously until November 2018, when Greg
Roman was instructed to discontinue visiting The Middle East Forum Philadelphia offices due to
the number of female employees who reported being victims of Greg Roman’s discrimination
and harassment in the workplace. Greg Roman was instructed by Daniel Pipes to discontinue
visiting the Philadelphia offices because Greg Roman posed a risk for the safety of the female
staff. Daniel Pipes and Greg Roman admitted to this. Greg Roman constantly contacted Lisa
Barbounis at inappropriate times and instructed Lisa Barbounis to visit him home “to work on
something.” Greg Roman instructed Lisa Barbounis to visit his home countless times throughout
Greg Roman’s employment. Sometimes Greg Roman called Lisa Barbounis as late as 11:00
P.M., to invite Lisa Barbounis to Greg Roman’s home, “to get some work done.” Greg Roman
always made it clear that his wife was not home, or that his wife and child were not home. The
implication was clear that Greg Roman was attempting to compel Lisa Barbounis to his home so
that he could continue the sexual advances and sexual harassment to which Lisa Barbounis was
subjected on a continuous basis at work. Greg Roman was constantly and continuously
inappropriate with Lisa Barbounis. Greg Roman spoke to Lisa Barbounis about sex and sexual
conquests. Greg Roman constantly leered at Lisa Barbounis, staring at Lisa Barbounis’s
backside and chest. Greg Roman admitted to Lisa Barbounis that he needed girls to “fuck” and
constantly spoke to Lisa Barbounis in a suggestive manner trying to convince Lisa Barbounis to
engage in a sexual relationship with him. By way of further answer see Plaintiff’s First
Amended Complaint and the second civil action complaint filed against The Middle East Forum
which has been consolidated with the instant matter.
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      11.      Identify all individuals, other than your attorneys, with whom you have
communicated with concerning this case and fully describe such communication(s) and identify all
documents relating to each communication.


ANSWER:


On advice from counsel, Plaintiff has limited her communications with individuals about the
case. Plaintiff has searched her records and in unable to identify communications with
individuals about the case. By way of further answer, Plaintiff, Lisa Barbounis recalls a time
when Defendants suggested a private mediation and it was intimated that the case might be ripe
for settlement in the months after the instant litigation was initiated. This was before Lisa
Barbounis learned that The Middle East Forum’s insurance coverage had disclaimed coverage.
In response to that information, Lisa Barbounis recalls making a comment to someone that the
case might resolve but Lisa Barbounis does not recall the precise comment made or to whom it
was made. Plaintiff has held personal private discussions with her husband, Vasilli Barbounis
about the case. Plaintiff objects to disclosing the nature of these discussions based on marital
privilege. These conversations were held only between husband and wife, and the statements
were made in confidence. Plaintiff has held conversations with her family including Jane
Reynolds about the instant matter. Plaintiff did not go into detail and recalls brief updates or
answering a question about how things are going. Plaintiff recalls conversations with her
treating medical providers, the names and contact information is listed above. Plaintiff recalls
informing friends and family that The Middle East Forum is retaliating against Plaintiff because
of Plaintiff’s civil action lawsuit against The Middle East Forum. Plaintiff recalls informing
friends and family that The Middle East Forum is signaling Lisa Barbounis out for retaliation
and is attempting to get into her personal private records. Plaintiff, Lisa Barbounis informed one
person that she would not have access to her telephone because she had to send it for imaging.
By way of further answer, all communications outlined above will be turned over to Defendants
in response to Defendants’ Request for Production of Documents.




        12.      Please describe each element of the damages you are seeking in this lawsuit;
describing in detail your calculations, the basis of those damages and the amounts in dollars and
cents that you are seeking to recover in this lawsuit. This interrogatory includes all elements of
damages that you have allegedly suffered as a result of your employment with or end of your
employment with The Forum or for which you have pled in this lawsuit, including, but not limited to,
back wages, future lost wages, mental anguish, medical bills, doctor's bills, lost benefits,
prescriptions, liquidated damages, reasonable attorneys' fees, medical expenses, court costs and
punitive damages.


ANSWER:
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Plaintiff’s damages analysis has already been provided in Plaintiff’s Initial Disclosures and includes
4 categories of damages: (1) economic losses, (2) emotional distress and physical manifestations in
connection therewith, (3) punitive damages and/or liquidated damages, (4) attorneys fees. Plaintiff is
only obligated to calculate her economic losses at this time. Plaintiff’s economic losses are
connected with Plaintiff being forced to obtain new employment in Washington D.C., and move
away from her family and pay for two households, one in Philadelphia and one in Washington D.C.
Plaintiff’s economic losses, or out of pocket losses at this time are estimated at approximately
$36,000.00. This calculation is based upon it being about one year since Plaintiff was forced to
move to Washington D.C. Plaintiff estimates that her monthly expenses in connection with the move
to Washington D.C., costs about $3,000.00 per month. Plaintiff reserves the right to add to,
supplement, or amend this calculation in accordance with the Federal Rules of Civil Procedure, the
Local Rules of Discovery, and the Scheduling Order.




        13. During the twelve (12) months leading up to your departure from The Forum, please
identify all efforts you made to find another job; identify all persons with knowledge or information
relating to your efforts; fully describe such efforts in detail; and identify all documents relating to
these efforts, if any.


ANSWER:


Plaintiff began actively searching for reemployment sometime around July 2019, when Plaintiff’s
work environment became so abusive and intolerable that no reasonable person would have
continued their employment under such circumstances such that Plaintiff’s resignation was void of
free will. Plaintiff began working on her resume sometime around July 2019 and resigned her
employment sometime around August 2019. During that time Plaintiff sent her resume to
approximately ten (10) organizations. By way of further answer, see Plaintiff’s Responses to
Defendants Request for Production of Documents which includes emails sent to organizations in July
2019 during the time period when Plaintiff began to consider her constructive discharge from
employment.




        14. Since your employment with the Forum ended, if you have been employed, including
self-employment and you have received any income, compensation, salary, wages, tips, gifts,
benefits, health insurance payments, unemployment compensation payments, workers’ compensation
payments, or remuneration of any kind whatsoever identify each source of such income or benefits
and, with respect to each such source, state the total amount of income or benefits received.
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ANSWER:

Since her unlawful termination from employment with The Middle East Forum, the only
compensation Plaintiff, Lisa Barbounis has earned was through Lisa Barbounis’s position with
Congressman Weber and the House of Representatives. Plaintiff earns income from the House
of Representatives and Weber for Congress which is Congressman Weber’s political campaign
entity. Plaintiff, Lisa Barbounis earns more in her current positions than she earned during her
employment for The Middle East Forum, however, Plaintiff, Lisa Barbounis has taken on
significantly higher expenses. Plaintiff rented a second home in Washington D.C. and then in
Arlington, Virginia. Plaintiff’s added expenses are in excess of $3,000.00 to $3,500.00 per
month.




       15. Describe fully all steps you have taken, if any, to preserve potentially relevant (hard-
copy) documents and electronically-stored information and identify all such sources of information
you have taken steps to preserve.



ANSWER:

On instruction of counsel, Plaintiff has maintained all accounts and has not deleted any information
from her accounts. Where it was possible, Plaintiff has maintained all electronic devices including
two smart phones. Today, all information available to Plaintiff, Lisa Barbounis remains available to
Plaintiff, Lisa Barbounis. By way of further answer, Plaintiff, Lisa Barbounis owns two smart
phones which were imaged and preserved February 2020.




        16. Identify all electronic devices including, but not limited to cellular/ mobile phones owned
and/or used to communicate concerning any of the allegations made in the Amended Complaint or
any defenses asserted to those allegations. For every electronic device identified, please provide the
service provider for each device.


ANSWER:

See Plaintiff’s Declaration and accompanying exhibits designated as Exhibit A, signed and executed
by Plaintiff, Lisa Barbounis January 17, 2020. By way of further answer, Plaintiff, Lisa Barbounis
owns two smart phones which were imaged and preserved February 2020. Defendants are already in
possession of Plaintiff’s service provider and today, this information is equally accessible to
Defendants as Plaintiff. Moreover, the parties have agreed that all electronic information produced
by Cornerstone in response to Judge Sanchez’s Order will be deemed produced in this case as well..
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        17. Identify any forms of social media including usernames/handles and/or all account names
used in the last three (3) years.



ANSWER:

Defendants are in possession of this information and this information is equally accessible to
Defendants as Plaintiff. By way of further answer an image of every one of Plaintiff’s social media
accounts has been taken by Cornerstone. Corner stone has imaged and preserved all email accounts,
cloud storage and social media accounts. Moreover, the parties have agreed that all electronic
information produced by Cornerstone in response to Judge Sanchez’s Order will be deemed produced
in this case as well.



        18. For the last three (3) years, please identify all forms of social media that you have posted
on; identify all forms of communication that you have used on social media (e.g. Facebook
messenger); identify all individuals, other than your attorneys, with whom you have communicated
with through these means concerning this case and fully describe such communication(s).



ANSWER:

Defendants are in possession of this information and this information is equally accessible to
Defendants as Plaintiff. By way of further answer an image of every one of Plaintiff’s social media
accounts has been taken by Cornerstone. Corner stone has imaged and preserved all email accounts,
cloud storage and social media accounts. Moreover, the parties have agreed that all electronic
information produced by Cornerstone in response to Judge Sanchez’s Order will be deemed produced
in this case as well.



       19. For the last three (3) years, please identify all electronic communication services that you
have used to communicate with individuals concerning this case (e.g. WhatsApp; LinkedIn;
Facebook; Slack; etc.); identify all individuals, other than your attorneys, with whom you have
communicated with concerning this case and fully describe such communication(s).



ANSWER:

Plaintiff’s devises were imaged and Plaintiff has produced information in connection with the
imaging of her devices based on search terms listed below. The Middle East Forum is permitted, as
per Judge Sanchez’s Order, to search the devises using another set of 25 search terms which The
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Middle East Forum may choose. All of Plaintiff’s electronic communications will be produced to
Defendants using these search terms as the parties have agreed that all electronic information
produced by Cornerstone in response to Judge Sanchez’s Order will be deemed produced in the
instant matter. By way of further answer, Plaintiff, Lisa Barbounis has communicated using the
social media accounts that were searched by Cornerstone, the names of which have already been
produced and identified by Defendants.

   2. Middle East Forum
   3. MEF
   4. The Forum
   5. donor
   6. doners
   7. Daniel Pipes
   8. D. Pipes
   9. DPipes
   10. Dan Pipes
   11. Pipes, Daniel
   12. Pipes, Dan
   13. fundraising
   14. A General Operating Supportmaster document
   15. countering violent extremism
   16. MEF Master donor list
   17. Tommy Robinson
   18. Thomas Robinson
   19. Tom Robinson
   20. T. Robinson
   21. TRobinson
   22. Robinson, Tommy
   23. Robinson, Thomas
   24. Robinson, Tom
   25. Greg Roman
   26. Gregory Roman
   27. G. Roman
   28. GRoman
   29. Roman, Greg
   30. Roman, Gregory
   31. Meltwater
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                                        DEREK SMITH LAW GROUP, PLLC

                                      By:______/s/ Seth D. Carson___________
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                                               Lisa Barbounis

DATED: July 12, 2020
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                               CERTIFICATE OF SERVICE


       I hereby certify that on this date that I caused a true and correct copy of Plaintiff’s

Responses to Defendants’ Requests for Admissions t o be served via email to:

                                 David J. Walton (PA # 86019)
                                 Leigh Ann Benson (PA #319406)
                                 Cozen O'Connor
                                 1650 Market Street, Suite 2800
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                                 F: 215-665-2013
                                 dwalton@cozen.com
                                 lbenson@cozen.com


                                           DEREK SMITH LAW GROUP, PLLC


                                           BY:__/s/_Seth D. Carson_____________
                                                 SETH D. CARSON




DATED: July 12, 2020
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                                       CERTIFICATION


        I have read the foregoing answers to interrogatories. I certify that the foregoing answers
to interrogatories and statements made by me are true. I am aware that if any of the foregoing
answers to interrogatories and statements made by me are willfully false, I am subject to
punishment.




Date: August 4, 2020           By:    Lisa Barbounis
